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                         UNITED STATES DISTRICT COURT

                        WESTERN DISTRICT OF OKLAHOMA


ANDREW COOKE, ON BEHALF OF               )   Master Docket No. 5:14-cv-00087-C
THE ANDREW R. COOKE 1998 TRUST, )            (Consolidated with Nos. 5:14-cv-00047-C;
Individually and on Behalf of All Others )   5:14-cv-00058-C; and 5:14-cv-00114-C)
Similarly Situated,                      )
                                         )   CLASS ACTION
                        Plaintiffs,      )
                                         )
       vs.                               )
EQUAL ENERGY LTD., et al.,               )
                                         )
                        Defendants.      )
                                         )



            PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS ACTION
                        SETTLEMENT AND BRIEF IN SUPPORT




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        Plaintiffs Andrew Cooke, on behalf of the Andrew R. Cooke 1998 Trust, Kenneth and

Aldona Olsen, John Solak, Abraham Grinberger, Johan Van Weelden, Anthony

Montemarano, and Jonathan Scripture (“Plaintiffs”) respectfully submit this memorandum of

points and authorities in support of final approval of the settlement of the above-captioned

action on the terms set forth in the Stipulation and Agreement of Compromise, Settlement,

and Release dated November 14, 2014 (“Stipulation”) (Dkt. No. 60)1 and for entry of the

Federal Court Order and Final Judgment agreed upon by the parties. The settlement is on

behalf of a Settlement Class consisting of all holders of Equal Energy Ltd. (“Equal” or the

“Company”) common stock at any time from December 9, 2013 through and including

July 31, 2014.

        As explained herein, Lead Counsel firmly believe that based upon the material

disclosures obtained for Equal shareholders in advance of the shareholder vote on the

Acquisition, the settlement is in the best interest of the Settlement Class and recommend that

it be approved by the Court.2

I.      INTRODUCTION

        This litigation arose out of the Plan of Arrangement entered into by Equal with

Petroflow Canada Acquisition Corp. (“Petroflow Canada”) and Petroflow Energy

Corporation (collectively, “Petroflow”), pursuant to which Petroflow would acquire all of the

outstanding shares of Equal stock for $5.43 per share (the “Acquisition”). In connection

1
   Unless otherwise defined herein, all capitalized terms have the same meanings ascribed to
them in the Stipulation.
2
   A detailed description of the procedural and factual history of the litigation, the efforts of
Plaintiffs’ Counsel, and the specific provisions and benefits of the settlement are contained in
the Declaration of David T. Wissbroecker in Support of Plaintiffs’ Motion for Final
Approval of Class Action Settlement (“Wissbroecker Decl.”), submitted herewith.
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with the Acquisition, Equal filed with the U.S. Securities and Exchange Commission

(“SEC”) a Preliminary Proxy Statement (the “Preliminary Proxy”) disclosing the Equal

Board of Director’s (“Equal Board”) recommendation that Equal stockholders vote their

shares in favor of the Acquisition.

        On and after January 15, 2014, four complaints seeking injunctive relief only were

filed in this Court against Equal, its directors and Petroflow, alleging, among other things,

that the Equal Board had breached its fiduciary duties in connection with its consideration of

the proposed Acquisition; that Equal and Petroflow had aided and abetted those breaches;

and that all defendants named therein had violated §14(a) of the Securities Exchange Act of

1934 (the “Exchange Act”) (the “Federal Actions”).3 The Federal Actions were consolidated

by the Court, and a Lead Plaintiff and Interim Lead Counsel were appointed. Wissbroecker

Decl., ¶26.

        Plaintiffs and their counsel vigorously prosecuted their claims for injunctive relief.

After the announcement of the Acquisition, Plaintiffs and their counsel conducted an

investigation of Defendants’ actions in connection with the proposed sale of the Company,

including a thorough review and analysis of relevant SEC filings, press releases, and analyst

reports about the Acquisition, Equal, and Petroflow; prepared and filed initial and amended


3
    Beginning on December 12, 2013, four complaints were filed in the District Court of
Oklahoma County for the State of Oklahoma (the “State Court”) asserting claims against the
Defendants for breach of fiduciary duty in connection with the Acquisition. Two of the
complaints also alleged that all defendants violated Section 154 of the Alberta Business
Corporations Act. These actions were consolidated by the State Court (the “State Action”).
Plaintiffs in the State Action are parties to the Stipulation. Upon final approval of the
settlement in this Action, and pursuant to the terms of the Stipulation, the parties to the State
Action will dismiss that action with prejudice. The State Action and the Federal Actions are
referred to herein as the “Actions.”
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complaints; prepared and served document requests and subpoenas; prepared and filed a

motion for expedited discovery and an ex parte motion for an order shortening time on the ex

parte motion; negotiated with Defendants to produce expedited discovery; reviewed

hundreds of pages of documents produced by Defendants; retained a financial expert;

demanded that Defendants fully disclose all material information in connection with the

Acquisition; and conducted substantial negotiations with counsel for Defendants regarding

disclosure of this information. Wissbroecker Decl., ¶4. As such, this settlement was not

arrived at until after Plaintiffs’ Counsel had expended a substantial effort over a necessarily

short period of time.4

        As a result of Plaintiffs’ Counsel’s investigative efforts it was determined that the

disclosures being made to the Company’s public shareholders were inadequate, and that

Defendants were withholding certain material information from shareholders necessary for

Equal shareholders to make a fully-informed decision regarding the Acquisition. Id., ¶32.

Accordingly, Plaintiffs’ Counsel focused their efforts on ensuring that Equal public

shareholders would not be required to vote on the Acquisition without full and fair

information about the process leading to entry of the Plan of Arrangement, the Company’s

intrinsic value and the fairness analyses conducted by the Company’s financial advisor,

Global Hunter Securities, LLC (“GHS”). Id., ¶5. Plaintiffs’ Counsel worked vigorously to

secure disclosure of this material information (the “Supplemental Disclosures”). The

Supplemental Disclosures, which Defendants disclosed in Equal’s Definitive Proxy that was

filed with the SEC on June 11, 2014 (“Definitive Proxy”), provided Equal shareholders with

4
   Plaintiffs also conducted a Rule 30(b)(6) deposition of a Company designee to further
confirm the fairness and adequacy of the settlement.
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material information that enabled them to make an informed decision regarding the

Acquisition. Id., ¶46; Stipulation, Exhibit 1.

        After the parties negotiated the substantive terms of the settlement for the benefit of

the Settlement Class, the parties turned to the amount of attorneys’ fees and expenses that

would be paid to Plaintiffs’ Counsel. Wissbroecker Decl., ¶48. As a result of these

negotiations, Equal or its successor, on behalf of Defendants, has agreed to pay, or cause to

be paid, the sum of $650,000 to Plaintiffs’ Counsel for their attorneys’ fees and expenses.

The negotiated amount of attorneys’ fees reflects in part, the parties’ experience as to what is

an appropriate fee under the circumstances of this litigation, including the result achieved for

the benefit of the Settlement Class and fee awards in similar cases. Importantly, the

negotiated amount of attorneys’ fees and expenses will in no way diminish the payments

(e.g., merger consideration) already received by the Settlement Class nor financially impact

any member of the Settlement Class as they are all former holders of Equal common stock.

        Plaintiffs’ Counsel, who are well-respected and experienced in prosecuting

shareholder class actions, have concluded that the additional material disclosures obtained

for the Settlement Class is a highly favorable result and in the best interest of the Settlement

Class. Wissbroecker Decl., ¶¶69-70. Members of the Settlement Class appear to agree with

counsel’s conclusions. The Court granted preliminary approval of the settlement on

December 15, 2014. Dkt. No. 61. In accordance with the Preliminary Approval Order, the

Notice of Settlement of Class Actions has been mailed to potential members of the

Settlement Class. See Paragraphs 3-10 to the Affidavit of Jason Rabe Regarding (A) Mailing

of the Notice; (B) Publication of the Publication Notice; and (C) Report on Objections

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Received to Date, dated March 6, 2015 (Dkt. No. 65-1). The Publication Notice was

published in the national edition of USA Today on two occasions. Id., ¶11. While the date

by which to object to the settlement – March 24, 2015 – has not yet expired, as of the date of

this memorandum, not a single objection to any aspect of the settlement has been received by

counsel.5

        For all the reasons set forth herein and in the Wissbroecker Declaration, Plaintiffs’

Counsel respectfully requests that the Court enter the Federal Court Order and Final

Judgment agreed to by the parties.

II.     THE SUBSTANTIAL BENEFITS OF THE SETTLEMENT

        The settlement on the terms set forth in the Stipulation was reached only after arm’s-

length negotiations between the parties who were all represented by counsel with extensive

experience and expertise in shareholder class action litigation. During the negotiations all

parties had a clear view of the strengths and weaknesses of their respective claims and

defenses. As a result of the settlement, Defendants made the Supplemental Disclosures

concerning the Acquisition in the Definitive Proxy, as discussed below. It is a basic tenet of

corporate law that companies are required to fully and fairly disclose all material information

within their control when they seek shareholder action. Rosenblatt v. Getty Oil Co., 493

A.2d 929, 944 (Del. 1985); Stroud v. Grace, 606 A.2d 75, 84 (Del. 1992) (it is a “well-

recognized proposition that directors of Delaware corporations are under a fiduciary duty to

disclose fully and fairly all material information within the board’s control when it seeks



5
    Should any objections be timely received, Plaintiffs’ Counsel will address them in a reply
brief to be filed on March 31, 2015.
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shareholder action”).6 This requires disclosure of all facts that would be considered by the

reasonable shareholder, even though such facts might not cause that shareholder to change

his or her vote. See TSC Indus. v. Northway, Inc., 426 U.S. 438 (1976). Here, Plaintiffs’

Counsel ensured that Equal shareholders were provided with all material information so that

they could make an informed vote on the Acquisition.

        Disclosure benefits similar to those obtained here have frequently provided the basis

for class-wide resolution of shareholder claims nationwide. See Mills v. Elec. Auto-Lite Co.,

396 U.S. 375 (1970). In In re Talley Indus., Inc. S’holder Litig., No. 15961, 1998 Del. Ch.

LEXIS 53, at *46 (Del. Ch. Apr. 13, 1998), the court in approving a settlement comprised of

additional disclosures concerning oppositions to the merger, the existence and value of other

offers, and an analysis of company’s liquidation value, noted that these disclosures provided

“substantial . . . benefit[s] to the members of the class.” As discussed herein, the settlement

provides similar benefits to members of the Settlement Class.

        A.     Disclosures Concerning the Sales Process for the Company

        The Preliminary Proxy purported to inform Equal shareholders of the reasons why, as

a matter of process, the offer from Petroflow was the best offer available to the Company.

The Supplemental Disclosures provided shareholders with additional and important

information about the sales process for the Company, including: (i) that between March 26

and 27, 2013, Equal engaged in discussions with Montclair Energy, LLC (“Montclair”) and

six other parties, all of which were strategic buyers; (ii) that while expressing an interest to

participate in the process, some of these parties did not provide formal offers that included

6
   A significant amount of merger litigation takes place in the Delaware Court of Chancery;
therefore, decisions from that Court are instructive and are cited herein.
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indicative values for Equal, but instead indicated they would require further time and

information before providing a formal offer, and that one interested party did provide Equal

with presentation materials indicating that it would be prepared to provide a formal offer

involving a combination of equity and cash for an implied price of approximately CDN

$3.34 per Equal share; (iii) that the Equal Board decided that Company A’s April 23, 2013

proposal significantly under-valued Equal and was not in the best interests of Equal; (iv) that

the financial terms presented in the May 1, 2013, indication of interest from Company B

involved a combination of equity and cash for an implied price of approximately USD $5.20

per Equal share at the time of such proposal; and (v) that because Montclair had technical

difficulties accessing the virtual data room Equal and GHS offered to make a presentation to

the management of Petroflow and Montclair, and that while Petroflow accepted Equal’s offer

for a presentation, Montclair declined. Wissbroecker Decl., ¶54.

        This information was material because shareholders are entitled to know whether the

Equal Board adequately discharged its duties to secure the best price possible for

shareholders by running a sales process that evenly treated all bidders, and provided potential

buyers with all the information they needed to make their best offer for the Company. With

this information, shareholders were in a position to determine whether there were any

conflicts, actual or perceived, that unduly burdened the sales process. As Delaware courts

have held, a board is required to set forth the events surrounding the sales process leading up

to a deal. See, e.g., Nagy v. Bistricer, 770 A.2d 43, 60 (Del. Ch. 2000) (holding that

stockholders are entitled to an accurate description of the “process” directors used “in

coming to their decision to support the Merger”); Arnold v. Soc’y for Sav. Bancorp., 650

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A.2d 1270, 1280 (Del. 1994) (holding that once the board “travel[s] down the road of partial

disclosure of the history leading up to the Merger . . . they ha[ve] an obligation to provide the

stockholders with an accurate, full, and fair characterization of those historic events”).

        B.      Disclosures Concerning Financial Projections and GHS’
                Financial Analyses

        Plaintiffs alleged that the Preliminary Proxy omitted material information regarding

management’s updated projections relied upon by GHS in its fairness analysis, as well as the

specific services that GHS provided to any of the parties to the Plan of Arrangement within

the prior two years. The Delaware Court of Chancery has held that the disclosure of

financial projections is material because projections provide stockholders with a basis to

better understand the expected future performance of a Company, and assist stockholders in

understanding the fairness opinion of a financial advisor and deciding how to cast their vote.

In re Netsmart Techs., Inc. S’holder Litig., 924 A.2d 171, 201-03 (Del. Ch. 2007); Maric

Capital Master Fund, Ltd. v. Plato Learning, Inc., 11 A.3d 1175, 1178 (Del. Ch. 2010)

(“[M]anagement’s best estimate of the future cash flow of a corporation that is proposed to

be sold in a cash merger is clearly material information.”).

        Here, the Supplemental Disclosures provided shareholders with management’s

updated (as of May 29, 2014) projections relied upon by GHS in its fairness analysis.

Wissbroecker Decl., ¶57. This information was material to Equal’s shareholders because the

information pertaining to the Company’s projections afforded stockholders considerably

greater ability to assess Equal’s worth and the adequacy of the offer price. Maric Capital, 11

A.3d at 1178.



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        Additionally, material facts regarding analyses prepared by GHS were not disclosed

in the Preliminary Proxy and thus resulted in material omissions. See Wissbroecker Decl.,

¶61. Here, the Supplemental Disclosures provided shareholders with key components of

GHS’ fairness analyses that were previously undisclosed that supported GHS’ conclusion of

fair value and upon which the Equal Board relied in recommending the Acquisition.

Wissbroecker Decl., ¶¶62-67. “[S]tockholders are entitled to a fair summary of the

substantive work performed by the investment bankers upon whose advice the

recommendations of their board as to how to vote on a merger or tender rely.” See In re

Pure Res., Inc., S’holder Litig., 808 A.2d 421, 449 (Del. Ch. 2002).7

III.    THE STANDARDS FOR JUDICIAL APPROVAL OF CLASS
        ACTION SETTLEMENTS

        Courts have repeatedly recognized, under Federal Rule of Civil Procedure 23(e), that

a court should approve the settlement of a class action if it is “fair, reasonable and adequate.”

See Jones v. Nuclear Pharmacy, Inc., 741 F.2d 322, 324 (10th Cir. 1984); Alvarado

Partners, L.P. v. Mehta, 723 F. Supp. 540, 546 (D. Colo. 1989). In making that evaluation,

courts are afforded broad discretion. Jones, 741 F.2d at 324.

        Nevertheless, as the United States Supreme Court has counseled, courts should “not

decide the merits of the case or resolve unsettled legal questions” in determining whether to

approve a settlement. Carson v. Am. Brands, Inc., 450 U.S. 79, 88 (1981); accord, e.g., In re

King Res. Co. Sec. Litig., 420 F. Supp. 610, 625 (D. Colo. 1976) (the “[c]ourt need not, and


7
   In addition, on May 29, 2014, GHS provided to the Equal Board a revised fairness
opinion which provided more detail concerning the bases for its opinion that the
“Transaction is fair, from a financial point of view, to such holders of common shares.”
Wissbroecker Decl., ¶6.
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should not, decide the merits of the controversy”). Nor should courts impose their will upon

parties who have come to a negotiated resolution after arm’s length bargaining. As the court

held in In re New Mexico Natural Gas Antitrust Litig.:

        [T]he court’s intrusion upon what is otherwise a private consensual agreement
        negotiated between the parties to a lawsuit must be limited to the extent
        necessary to reach a reasoned judgment that the agreement is not the product
        of fraud or overreaching by, or collusion between, the negotiating parties, and
        that the settlement, taken as a whole is fair, reasonable and adequate to all
        concerned. Therefore, the settlement or fairness hearing is not to be turned
        into a trial or rehearsal for trial on the merits. . . . The proposed settlement is
        not to be judged against a hypothetical or speculative measure of what might
        have been achieved by the negotiators.

607 F. Supp. 1491, 1497 (D. Colo. 1984) (citation omitted).

        Beyond the general public policy favoring settlement of class actions, the Tenth

Circuit Court of Appeals has identified a number of factors that should be considered by

courts in making the required determination whether class action settlements should be

approved. In Gottlieb v. Wiles, 11 F.3d 1004, 1014 (10th Cir. 1993), the court held that the

district courts should consider the following four factors “in assessing the adequacy of the

settlement”: (1) whether the proposed settlement was fairly and honestly negotiated;

(2) whether serious questions of law and fact exist, placing the ultimate outcome of the

litigation in doubt; (3) whether the value of an immediate recovery outweighs the mere

possibility of future relief after protracted and expensive litigation; and (4) the judgment of

the parties that the settlement is fair and reasonable. Accord, e.g., Jones, 741 F.2d at 324;

Alvarado Partners, 723 F. Supp. at 546; see also Rutter & Wilbanks Corp. v. Shell Oil Co.,

314 F.3d 1180, 1188 (10th Cir. 2002) (affirming the test to be applied in determining fairness

of a settlement).

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        As set forth below, each of the foregoing factors amply supports the determination

that the settlement is fair, reasonable, and adequate and in the best interests of members of

the Settlement Class. Therefore, the settlement should be approved by the Court in all

respects.

        A.     The Settlement Was Fairly and Honesty Negotiated

        One of the factors highlighted by courts as critical to any assessment of the merits of a

settlement – whether the proposed settlement was fairly and honestly negotiated – fully

supports the conclusion that the settlement merits the Court’s approval. See Gottlieb, 11

F.3d at 1014. Courts have focused on whether the settlement was achieved through “arm’s-

length negotiations” by counsel who have “the experience and ability . . . necessary [for]

effective representation of the class’s interests.” Weinberger v. Kendrick, 698 F.2d 61, 74

(2d Cir. 1982).

        This settlement is the product of vigorous arm’s-length negotiations by counsel with

significant expertise and experience in shareholder litigation. The terms of the settlement

were extensively debated and negotiated with the resulting relief being the product of

compromise by all parties. Wissbroecker Decl., ¶¶42-46. Settlement negotiations were at

arm’s length and hard fought by experienced counsel, supporting approval.

        B.     Serious Questions of Law and Fact Existed that Created
               Significant Risk of Obtaining a More Favorable Result After
               Continued Litigation

        The second and third factors identified by the Tenth Circuit, whether serious questions

of law and fact exist placing the ultimate outcome of the litigation in doubt, and whether the

value of an immediate recovery outweighs the mere possibility of future relief after


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protracted and expensive litigation, fully support approval of the settlement. See Gottlieb, 11

F.3d at 1014. This complex shareholder litigation presented a panoply of complex factual

and legal issues making its outcome uncertain at best. Prior to reaching this settlement,

Plaintiffs’ Counsel had obtained sufficient information to weigh the benefits of the

settlement against the risks of continued litigation. As discussed above the settlement

provides substantial benefits to Equal shareholders that allowed them to make a fully

informed decision on the Acquisition. The benefits of the settlement must be weighed

against the risk of obtaining a better result after continued litigation.

        While Plaintiffs’ Counsel believe the case is meritorious, Defendants would argue that

they exercised valid “business judgment” with respect to all aspects of the Acquisition.

Defendants would contend that pursuant to the business judgment rule, the corporate

directors are presumed to have “‘acted on an informed basis, in good faith and in the honest

belief that the action taken was in the best interest of the company.’” Benihana of Tokyo,

Inc. v. Benihana, Inc., 906 A.2d 114, 120 (Del. 2006) (citation omitted). “Absent an abuse

of discretion, [the] judgment will be respected by the courts. The burden is on the party

challenging the decision to establish facts rebutting the presumption.” Aronson v. Lewis, 473

A.2d 805, 812 (Del. 1984). The business judgment rule favors defendants and created a

significant risk that Plaintiffs would not have prevailed.

        Importantly, the settlement obtained for shareholders much of the injunctive relief

sought in the Actions by providing significant additional material information that enhanced

shareholders’ ability to make a fully-informed decision on the Acquisition. Wissbroecker

Decl., ¶¶29-41. As the court in Talley aptly observed, “the timely disclosure of the

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information in the supplement was presumably of greater value to the class than any

potential award of damages based on the failure to disclose the same information, as such

information is of the greatest utility when it is available in a timely manner to inform the

stockholders’ decision making process.” Talley, 1998 Del. Ch. LEXIS 53, at *46. Plaintiffs’

Counsel weighed the uncertainty, delay, and expense of continued litigation against the

likelihood of obtaining a better result after continued litigation. Based on their evaluation,

Plaintiffs’ Counsel determined that the settlement provides Equal shareholders with

substantial benefits that directly address the claims and relief sought in the litigation and

therefore is in the best interest of the Settlement Class. Wissbroecker Decl., ¶¶50-52.

        An evaluation of the settlement must also be tempered by the recognition that any

compromise involves concessions on the part of the settling parties. Indeed, the very essence

of a settlement agreement is compromise, “‘a yielding of absolutes and an abandoning of

highest hopes.’” Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615, 624 (9th Cir.

1982) (citation omitted).    “‘“Naturally, the agreement reached normally embodies a

compromise; in exchange for the saving of cost and elimination of risk, the parties each give

up something they might have won had they proceeded with litigation.”’” Id. (citation

omitted).

        C.     The Recommendation of Experienced Counsel Weighs Heavily
               in Favor of Approval of the Settlement

        Courts have long recognized that the opinion of experienced counsel who litigated the

case, negotiated the compromise, and support the settlement is entitled to considerable

weight. See, e.g., Alvarado Partners, 723 F. Supp. at 548; King Res., 420 F. Supp. at 625

(“Courts have consistently refused to substitute their business judgment for that of counsel,
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absent evidence of fraud or overreaching.”). Here, Plaintiffs’ Counsel have extensive

experience in shareholder class actions in general, and merger and acquisition cases in

particular, having prosecuted numerous similar actions in courts nationwide. Counsel used

that expertise and experience to efficiently and effectively prosecute this litigation, reaching

a highly favorable result for Equal shareholders. Where, as here, the settlement is the

product of serious, informed, and non-collusive negotiations, “‘the trial judge . . . should be

hesitant to substitute its own judgment for that of counsel.’” Nat’l Rural Telecomms. Coop.

v. DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004) (citation omitted).

        D.     Reaction of the Settlement Class Supports Final Approval

        Courts have noted that “‘the reaction of the class to the proffered settlement . . . is

perhaps the most significant factor to be weighed in considering its adequacy.’” In re

Rambus Inc. Derivative Litig., No. C 06-3513 JF(HRL), 2009 U.S. Dist. LEXIS 131845, at

*10 (N.D. Cal. Jan. 20, 2009) (citation omitted). In cases where there is a limited number of

objectors, courts have held that the lack of objections strongly militates in favor of approving

the settlement. See Stoetzner v. U.S. Steel Corp., 897 F.2d 115, 117-19 (3d Cir. 1990)

(objections by “only” 29 members of 281 member class “strongly favors settlement”). In

this case, the number of objectors – none – demonstrates that members of the Settlement

Class view Plaintiffs’ Counsel’s efforts in a very positive light.

IV.     THE COURT SHOULD AFFIRM ITS CERTIFICATION OF THE
        SETTLEMENT CLASS

        In presenting the proposed settlement for preliminary approval, Plaintiffs requested

that the Court certify a Settlement Class so that notice of the proposed settlement, the final

approval hearing and the rights of members of the Settlement Class could be issued. In its

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Preliminary Approval and Scheduling Order, entered on December 15, 2014, this Court

preliminarily certified a Settlement Class. See Dkt. No. 61, ¶¶2-3. Nothing has changed to

alter the propriety of the Court’s certification and, for all the reasons stated in Plaintiffs’

Motion for Preliminary Approval of Class Action Settlement and Brief in Support (Dkt.

No. 59), incorporated herein by reference, Plaintiffs now request that the Court reiterate its

prior certification of the Settlement Class.

V.      THE NEGOTIATED AMOUNT OF ATTORNEYS’ FEES AND
        EXPENSES SHOULD BE APPROVED

        A.     Negotiated Fees Are Encouraged by the Courts

        Plaintiffs’ Counsel’s efforts in prosecuting the Actions and negotiating the settlement

have conferred substantial benefits on Equal shareholders. See generally Wissbroecker Decl.

After vigorous arm’s-length negotiations concerning the principal terms of the settlement,

the parties reached an agreement that Equal or its successor, on behalf of itself and for the

benefit of Defendants would pay $650,000 to Plaintiffs’ Counsel in the Actions for their

attorneys’ fees and expenses. Id., ¶48; Stipulation, ¶20.

        The United States Supreme Court has endorsed this type of consensual resolution of

attorneys’ fee issues as the ideal toward which litigants should strive. In Hensley v.

Eckerhart, 461 U.S. 424, 437 (1983), the Supreme Court stated: “A request for attorney’s

fees should not result in a second major litigation. Ideally, of course, litigants will settle the

amount of a fee.” As the Ninth Circuit Court of Appeals has stated: “[T]he court’s intrusion

upon what is otherwise a private consensual agreement negotiated between the parties to a

lawsuit must be limited to the extent necessary to reach a reasoned judgment that the

agreement is not the product of fraud or overreaching by, or collusion between, the

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negotiating parties, and that the settlement, taken as a whole, is fair, reasonable and adequate

to all concerned.” Officers for Justice, 688 F.2d at 625.

        The amount negotiated and agreed to in part reflects the parties’ experience as to what

is appropriate for the benefits obtained and will fairly compensate Plaintiffs’ Counsel for

their work in obtaining the substantial benefits for Equal shareholders. Where there is no

evidence of collusion and no detriment to the parties, a court should give “substantial weight

to a negotiated fee amount.” Ingram v. Coca-Cola Co., 200 F.R.D. 685, 695 (N.D. Ga.

2001). Thus, the Court’s role in overseeing the fee provision in the present context is

different from that in the traditional “common fund” case, in which the awarded fee is

subtracted from the total amount of money and/or benefits made available to the class,

thereby the amount of any fee awarded, by definition, diminishes the benefits the class would

otherwise receive. This is also different from a “statutory fee shifting” case, in which the

defendant has not agreed to pay plaintiffs’ counsel’s fee and thus reserves the right to

challenge every item of work performed that underlies the requested fee. Here, after arm’s-

length negotiations, Defendants’ counsel, who had every incentive to negotiate a fee award

that was fair and in the best interest of their clients, negotiated and ultimately agreed with

Plaintiffs’ Counsel on a sum and agreed to pay $650,000, subject to Court approval.

Importantly, the fee and expense amount negotiated here will not affect the consideration to

be received by members of Settlement Class as the Acquisition has already closed. See In re

Resorts Int’l S’holder Litig., No. 9470, 1990 Del. Ch. LEXIS 167, at *17 (Del. Ch. Oct. 11,

1990) (“Significantly, the attorneys’ fees will be borne directly by [the company] and not by

the class.”).

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        The parties’ agreement on the amount of fees is also consistent with or less than other

negotiated fees approved in other similar merger and acquisition cases. The approval of

settlements and attorneys’ fees in footnote 8 below and numerous others confirm the

substantial benefits provided by Plaintiffs’ Counsel in obtaining the additional disclosures,

and fully support the fee negotiated here.8

        B.     The Substantial Benefits Conferred on the Settlement Class
               Strongly Support the Award of Fees and Expenses

        Courts throughout the United States, including the Supreme Court, focus on the

benefits achieved in the litigation as the primary factor in evaluating a fee request. See, e.g.,

Hall v. Cole, 412 U.S. 1, 5 (1973) (the payment of attorneys’ fees is appropriate where

plaintiffs’ litigation results in a “‘substantial benefit [for] members of an ascertainable

class’”) (citation omitted); see also Sugarland Indus. v. Thomas, 420 A.2d 142, 152 (Del.

1980); Dow Jones & Co. v. Shields, No. 184, 1992 Del. Ch. LEXIS 24, at *5 (Del. Ch.

Mar. 4, 1992); In re Anderson Clayton S’holders’ Litig., No. 8387, 1988 Del. Ch. LEXIS

127, at *1 (Del. Ch. Sept. 19, 1988). Courts have consistently placed a significant value


8
    In re ADC Telecomms., Inc. S’holder Litig., No. 27-cv-10-17053, slip op. at 7 (Hennepin
Cnty. Minn. Mar. 10, 2011) (awarding $925,000 in fees and expenses for settlement
providing additional disclosures); Edrington v. Johnson, No. 1:08-CV-118013, slip op.
(Santa Clara Super. Ct. July 27, 2009) (awarding $850,000 in fees and expenses for
additional disclosures); In re UICI S’holders Litig., No. 05-09693, slip op. (Dallas County
Tex. Oct. 5, 2006) (awarded negotiated fee amount of $950,000 where benefit consisted of
additional disclosures in Form 8-K and definitive proxy statement); Call 4U, Ltd. v.
Goodman Global, Inc., No. 2007-66888, slip op. (Harris County Tex. May 13, 2009)
(awarded negotiated fee of $890,000 for additional disclosures contained in Form 8-K and
modifications to the merger agreement); In re Aeroflex S’holders Litig., No. 003943/2007,
slip op. (N.Y. Super. Ct. June 30, 2009) (awarded $850,000 fee for additional disclosures
contained in proxy statements); Rinderknecht v. Kerr-McGee Corp., No. CJ-2006-5204, slip
op. (Oklahoma Cnty. Okla. Nov. 28, 2006) (awarded $825,000 negotiated fee amount for
additional disclosures in Form 8-K).
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upon non-monetary benefits obtained for shareholders, such as the enhanced disclosures

here, particularly in the context of a corporate transaction involving the sale or exchange of

the shareholders’ stock. See, e.g., TSC Indus., 426 U.S. 438 (recognizing the importance of

providing shareholders with all material information in order to promote the free exercise of

the voting rights of stockholders); Mills, 396 U.S. at 396 (noting importance of fair and

informed shareholder voting); Wis. Inv. Bd. v. Bartlett, No. 17727, 2002 Del. Ch. LEXIS 42,

at *17-*20 (Del. Ch. Apr. 9, 2002) (supplemental proxy disclosures provided a therapeutic

benefit to shareholders by allowing for informed shareholder vote), aff’d, 808 A.2d 1205

(Del. 2002); Eisenberg v. Chicago Milwaukee Corp., No. 9374, 1988 Del. Ch. LEXIS 141, at

*8 (Del. Ch. Oct. 25, 1988) (recognizing substantial benefit where representative shareholder

succeeds in correcting invalid disclosures in connection with a transaction between the

corporation and its stockholders). Such results are rewarded by court-approved attorneys’

fees and expenses. See, e.g., Tandycrafts, Inc. v. Initio Partners, 562 A.2d 1162, 1165 (Del.

1989) (“the benefit need not be measurable in economic terms”).

        In Delaware, it is well-settled that curative disclosures confer a benefit on the class

such that plaintiffs’ counsel can successfully make a claim for fees and expenses. See, e.g.,

In re FLS Holdings, Inc. S’holder Litig., No. 12623, 1993 Del. Ch. LEXIS 57, at *16 (Del.

Ch. Apr. 21, 1993) (“Improved disclosures may certainly prove beneficial to class members

and may constitute consideration of a type which will support a settlement of claims.”). As

the court in Talley noted:

        Considering all the circumstances presented, I have no difficulty concluding
        that the disclosures made here constitute adequate consideration for the
        settlement of the claims asserted and adequately supported the fee requested.

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Talley Indus., 1998 Del. Ch. LEXIS 53, at *46; see also In re Staples, Inc. S’holders Litig.,

792 A.2d 934, 954 (Del. Ch. 2001). Here, as a result of the prosecution and settlement of the

Actions, Plaintiffs’ Counsel obtained significant disclosures that enabled shareholders to

make a clear, informed decision on the Acquisition. Thus, Plaintiffs’ Counsel’s services in

providing the Settlement Class with information about key facts were of material value to the

shareholders. There is no question that the Supplemental Disclosures achieved as a result of

the prosecution and settlement of the Actions provided substantial benefits to Equal

shareholders and fully support the negotiated amount of attorneys’ fees and expenses.

        Moreover, courts also have repeatedly held that it is in the public interest to have

experienced and able counsel enforce the securities laws and regulations pertaining to the

duties of officers and directors of public companies. Vigorous private enforcement of the

federal securities laws and state corporation laws can occur only if private plaintiffs can

obtain parity in representation with that available to large corporate interests. If this

important public policy is to be carried out, courts need to award fees that will adequately

compensate private plaintiffs’ counsel, taking into account the enormous risks undertaken

with a clear view of the economics of merger and acquisition litigation. “The Supreme Court

has emphasized that while private actions provide “‘a most effective weapon in the

enforcement’” of the securities laws and are “‘a necessary supplement to [SEC] action,’” it is

imperative that the filing of contingent class action and derivative lawsuits not be chilled by

the failure to award attorneys’ fees or by the imposition of fee awards that fail to adequately

compensate counsel for the risks of pursuing such litigation, and the benefits that would not

otherwise be achieved.” Cohn v. Nelson, 375 F. Supp. 2d 844, 865 (E.D. Mo. 2005)

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(citations omitted). Accordingly, for the reasons set forth above, Plaintiffs’ Counsel

respectfully submit that the negotiated attorneys’ fees and expenses should be approved.

        C.     Consideration of the Relevant “Johnson Factors” Further
               Supports the Negotiated Fees and Expenses

        The Tenth Circuit has recognized that in determining an appropriate attorneys’ fee,

the court should be informed by an analysis of the factors articulated by the Fifth Circuit in

Johnson v. Ga. Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974). See Brown v. Phillips

Petroleum Co., 838 F.2d 451, 454-55 (10th Cir. 1988); Uselton v. Commercial Lovelace

Motor Freight, 9 F.3d 849, 853 (10th Cir. 1993). As shown below, application of the

relevant Johnson factors as a cross-check amply supports the reasonableness of the

negotiated amount of attorneys’ fees and expenses.9 The relevance of reach of the Johnson

factors will vary in any particular case, and, rather than requiring a rigid application of each

factor, the Tenth Circuit has left it to the lower court’s discretion to apply those factors in

view of the circumstances of a particular case. Brown, 838 F.2d at 456.




9
   The Johnson factors are:
      (i) the time and labor required, (ii) the novelty and difficulty of the questions
      presented by the case, (iii) the skill requisite to perform the legal service
      properly, (iv) the preclusion of other employment by the attorneys due to
      acceptance of the case, (v) the customary fee, (vi) whether the fee is fixed or
      contingent, (vii) any time limitations imposed by the client or the
      circumstances, (viii) the amount involved and the results obtained, (ix) the
      experience, reputation, and ability of attorneys, (x) the “undesirability” of the
      case, (xi) the nature and length of the professional relationship with the client,
      and (xii) awards in similar cases.
488 F.2d at 717-19.

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               1.    Time and Labor Involved

        As detailed herein in the Wissbroecker Declaration, Plaintiffs’ Counsel expended

significant time and effort over a necessarily short period of time pursuing this litigation on

behalf of members of the Settlement Class. During the course of the litigation, Plaintiffs’

Counsel (i) conducted an extensive investigation of the allegations both before and after the

filing of the Actions including a thorough review and analysis of relevant SEC filings, press

releases, and analysts reports about the Acquisition, Equal and Petroflow; (ii) consulted with

a financial expert; (iii) prepared and filed initial and amended complaints; (iv) prepared and

served requests for production of documents; (v) moved for expedited discovery;

(vi) reviewed hundreds of pages of documents regarding Equal and the Acquisition,

(vii) took the deposition of Donald Klapko; (viii) reviewed and analyzed the Preliminary

Proxy in consultation with a financial expert; (ix) demanded that Defendants fully disclose

all material information; and (x) conducted extensive settlement negotiations with counsel

for Defendants regarding the disclosure of this information.

        The time devoted to the Actions by counsel was under time-sensitive circumstances

and was necessary to thoroughly investigate the case, assess the strengths and weaknesses of

the claims and defenses, and settle this litigation on highly favorable terms for members of

the Settlement Class. Because of Plaintiffs’ Counsel’s extensive experience in shareholder

merger and acquisition cases they have a unique insight into the legal and factual issues

presented, and were able to effectively and efficiently prosecute this litigation and reach a

highly favorable result for members of the Settlement Class.




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               2.     The Novelty and Difficulty of the Questions Raised by the
                      Actions

        This litigation raised significant legal and factual issues. Shareholder actions in the

context of mergers and acquisitions (M&A litigation) are a niche practice in the arena of

corporate law. An even smaller subset of M&A litigation are those actions which challenge

so-called “friendly mergers” into third parties, as opposed to actions that challenge

management-led buyouts or controlling shareholders taking corporations private. See Robert

B. Thompson & Randall S. Thomas, The New Look of Shareholder Litigation: Acquisition-

Oriented Class Actions, 57 Vand. L. Rev. 133, 173-78 (2004). These actions are difficult to

litigate because among other things, a board of directors approving such a deal is shielded by

the business judgment rule unless it is shown that the board violated one of its duties of

loyalty, care, or candor. See McMullin v. Beran, 765 A.2d 910, 917-18 (Del. 2000).

Overcoming the business judgment rule in this context can be a daunting task for plaintiffs.

See Parnes v. Bally Entm’t Corp., 722 A.2d 1243, 1246 (Del. 1999).

               3.     The Skill Required to Perform the Legal Services
                      Properly and the Experience and Reputations of
                      Plaintiffs’ Counsel

        It took a great deal of skill and experience to achieve what Plaintiffs’ Counsel

achieved for the Company’s shareholders. The attorneys who prosecuted the litigation on

behalf of plaintiffs are nationally recognized practitioners in the field of shareholder class

actions. Indeed, Plaintiffs’ Counsel not only have extensive experience in the area of

securities class action litigation but are leaders in the M&A litigation field, having

prosecuted numerous cases on behalf of shareholders in courts nationwide, and have

continually obtained outstanding results for shareholders that they represent.            This

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experience and talent allowed counsel to take financial risks and tackle difficult factual and

legal issues and obtain the substantial benefits for members of the Settlement Class. In

addition, Defendants were represented by experienced, sophisticated and well-respected

attorneys. The ability of Plaintiffs’ Counsel to obtain such a favorable result for Equal

shareholders in the face of such formidable opposition confirms the quality of Plaintiffs’

representation. As a result, Plaintiffs’ Counsel’s experience, skill, and acumen support the

negotiated fee.

               4.     The Preclusion of Other Employment by Attorneys Due to
                      Acceptance of the Case

        The time spent by Plaintiffs’ Counsel on the Actions was at the expense of time that

counsel could have devoted to other matters. Accordingly, to the extent applicable, this

factor supports the negotiated fee.

               5.     Time Limitations Imposed by Client or Circumstances

        While this litigation did not involve client-imposed time limitations, the pace and

circumstances of the Acquisition required immediate and aggressive litigative efforts from

Plaintiffs’ Counsel. This factor supports the requested fee.

               6.     Whether the Fee Is Fixed or Contingent

        Plaintiffs’ Counsel undertook this litigation on a contingent fee basis, assuming a

significant risk that the litigation would yield no recovery and leave them uncompensated.

Unlike counsel for Defendants, who are paid an hourly rate and paid their expenses on a

regular basis, Plaintiffs’ Counsel have not been compensated for any time or expense since

the cases began. Courts have consistently recognized that the risk of receiving little or no

recovery is a major factor in considering an award of attorneys’ fees. For example, in

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awarding counsel’s attorneys’ fees in In re Prudential-Bache Energy Income P’ships Sec.

Litig., No. 888, 1994 U.S. Dist. LEXIS 6621, at *16 (E.D. La. May 18, 1994), the court

noted the risks that plaintiffs’ counsel had taken:

        Although today it might appear that risk was not great based on Prudential
        Securities’ global settlement with the Securities and Exchange Commission,
        such was not the case when the action was commenced and throughout most
        of the litigation. Counsel’s contingent fee risk is an important factor in
        determining the fee award. Success is never guaranteed and counsel faced
        serious risks since both trial and judicial review are unpredictable. Counsel
        advanced all of the costs of litigation, a not insubstantial amount, and bore the
        additional risk of unsuccessful prosecution.

        Because the fee in this matter was entirely contingent, the only certainties were that

there would be no fee without a successful result and that such a successful result would be

realized only after considerable and difficult effort.        Plaintiffs’ Counsel committed

substantial resources of both time and money to the vigorous and successful prosecution of

the litigation for the benefit of the Company’s shareholders. In view of the skill of

Defendants’ counsel and the legal and factual difficulties of this litigation, the risk of never

being compensated was real. Indeed, “[p]recedent is replete with situations in which

attorneys representing a class have devoted substantial resources in terms of time and

advanced costs yet have lost the case despite their advocacy.” In re Xcel Energy, Inc., 364 F.

Supp. 2d 980, 994 (D. Minn. 2005). The contingent nature of Plaintiffs’ Counsel’s

representation strongly favors approval of the negotiated fee.

               7.     The Amount Involved and the Results Obtained

        Courts consistently recognize that the result achieved is a major factor to be

considered in awarding a fee. Hensley, 461 U.S. at 436 (“most critical factor is the degree of

success obtained”). As discussed herein, and the Wissbroecker Declaration, the settlement

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provided substantial benefits to Equal shareholders in the form of the Supplemental

Disclosures, including the updated fairness opinion, enabling shareholders to make a fully

informed decision on the Acquisition.        The substantial benefits achieved for Equal

shareholders fully support the negotiated fee.

               8.     The Customary Fee and Awards in Similar Cases

        As demonstrated in footnote 8 on page 17 hereof, the negotiated fee is consistent with

other negotiated fees approved by courts throughout the country in similar cases where

additional disclosures were obtained. Because the attorneys’ fees and expenses were

negotiated at arm’s length by sophisticated counsel with extensive experience in complex

shareholder litigation, the negotiated amount mirrors the private marketplace, a result

encouraged by the courts. See In re Cont’l Ill. Sec. Litig., 962 F.2d 566, 572 (7th Cir. 1992)

(market factors best known by the negotiating parties themselves, should determine the

quantum of attorneys’ fees).

VI.     CONCLUSION

        For all the reasons set forth herein, Plaintiffs’ respectfully request that the Court

finally approve the settlement and enter the Federal Court Order and Final Judgment.

DATED: March 17, 2015                        Respectfully submitted,

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                                                        s/ Ellen Gusikoff Stewart
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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 17, 2015, I authorized the electronic filing of the

foregoing with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to the e-mail addresses denoted on the attached Electronic Mail Notice List,

and I hereby certify that I caused to be mailed the foregoing document or paper via the

United States Postal Service to the non-CM/ECF participants indicated on the attached

Manual Notice List.

        I certify under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct. Executed on March 17, 2015.

                                                s/ Ellen Gusikoff Stewart
                                                ELLEN GUSIKOFF STEWART

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Mailing Information for a Case 5:14-cv-00087-C Cooke et al v.
Equal Energy Ltd et al
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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
therefore require manual noticing). You may wish to use your mouse to select and copy this list into
your word processing program in order to create notices or labels for these recipients.
• (No manual recipients)
